Case 2:18-cr-OOO41-LGW-BWC Document 98 Filed 11/20/18 Page 1 of 2

AOB$(Re-r. 1285) Smunons ln a C¢iminal Ceee
RETllRN OF SERV|CE

 

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Check one box below to indicate approprlate method of servioe

 

E| Served personally upon the defendant at

 

 

/(L.eft summons at the defendants dwelling house or usual place of abode with a person of suitable age and

lscretlon then siding therein and mailed y`of the summons to the defendants last known address
left éveé Ey¢ ,hg§ »~ \9-0

[_‘_| Retumed unexecuted:

 

 

 

 

 

 

 

ldeclare under penalty of perjury under the laws of the United States of Amerlca that the foregoing
informationoontained in the Retum of Servloe ls true and correct

  

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C
AO 83 (Rev. 12/85) Summons in a Criminal Case

United States District Court
Southem District of Georgia

UNITED STATES OF AMERICA
VS_ SUMMONS IN A CRIMINAL CASE
AUSTIN ALLEN CROSS CASE NUMBER: CR218_41
(Name and Address of Defendant)
Austin Allen Cross REC E lVE D
7000 79th Avenue North ." .
Pinellas Park, FL 33781 ?- NOV l 5 2018 ‘

U.S. Marshals Service
Savannah Georgia

YOU ARE HEREBY SUMMONED to appear before the United States District Court at the place, date and time set forth below.

place Federal Courthouse Room
801 Gloucester Street Courtroom l

Brunswick, GA 31520

 

Date and Time
12/06/2018 at lO:OO am

 

Before:

 

To answer a(n)

 

lndictment l:l Information l:l Complaint l:l Violation Notice l:l Probation Violation Petition
Charging you with a violation of Title 18 U~S.C- Section(s) 371, 842 (h) , & 614

Brief description of offense:
Conspiracy, Possession of Stolen Explosive Materials, Theft of Government Property

 

 

 

 

CONTACT PRETRIAL SERVICES OFFICER, Fonda Dixon , IMMEDIATELY UPON RECEIPT OF
OF THIS SUMMONS. OFFICE HOURS ARE FROM 8:30 AM THROUGH 5:00 PM MONDAY THROUGH FRIDAY.

TELEPHONE: 912-280-1350

11/14/2018

s/ Whitney Sharp
Date

Signature of Issuing Offioer

Whitney Sharp, CRDC

Name and Til|e of lssuing Off`icer

GAS Rerv 4!21/97

